                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 JOSHUA JARRETT, et al.,

         Plaintiffs,                               Case No. 3:21-cv-00419

 v.                                                Judge William L. Campbell, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 UNITED STATES OF AMERICA,

         Defendant.


                                             ORDER

        The Magistrate Judge held a telephonic case management conference with counsel for the

parties on February 10, 2022. Counsel for the United States report that they intend to file a motion

to dismiss the action on mootness grounds after certain conditions precedent have been completed.

Counsel will file a proposed briefing schedule for the motion to dismiss by February 25, 2022.

        The fact and expert discovery deadlines set by the amended case management order are

CONTINUED and will be addressed at a telephone conference set on May 5, 2022, at 10:00 a.m.

Counsel shall call (888) 557-8511 and enter access code 7819165# to participate in the conference.

Before that date, counsel shall meet and confer regarding the status of the action and be prepared

to discuss the resetting of the discovery calendar based upon the status of the motion to dismiss.

        It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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